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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                               CASE NO. 1:10-CR-00249 AWI BAM

11                                 Plaintiff,                STIPULATION AND
                                                             PROTECTIVE ORDER
12                           v.

13   EVELYN BRIGGET SANCHEZ,

14                                Defendant.

15

16           WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
17   information including but not limited to Social Security numbers, dates of birth, driver’s license numbers,
18   bank account numbers, telephone numbers, and residential addresses (“Protected Information”); and
19           WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
20   unauthorized disclosure or dissemination of this information to anyone not a party to the court proceedings in
21   this matter;
22           The parties agree that entry of a stipulated protective order is appropriate.
23           THEREFORE, defendant EVELYN BRIGGET SANCHEZ, by and through her counsel of record
24   (“Defense Counsel”), and plaintiff the United States of America, by and through its counsel of record, hereby
25   agree and stipulate as follows:
26           1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
27   Criminal Procedure, and its general supervisory authority.
28

       Stipulation & Protective Order                        1
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 1           2.       This Order pertains to all discovery provided to or made available to Defense Counsel as part

 2   of the discovery in this case (hereafter, collectively known as the “discovery”).

 3           3.       By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 4   documents that contain Protected Information with anyone other than Defense Counsel and designated

 5   defense investigators and support staff. Defense Counsel may permit the defendant to view unredacted

 6   documents in the presence of her attorney, defense investigators and support staff. The parties agree that

 7   Defense Counsel, defense investigators, and support staff shall not allow the defendant to copy Protected

 8   Information contained in the discovery. The parties agree that Defense Counsel, defense investigators, and

 9   support staff may provide the defendant with copies of documents from which Protected Information has

10   been redacted.

11           4.       The discovery and information therein may be used only in connection with the litigation of

12   this case and for no other purpose. The discovery is now and will forever remain the property of the United

13   States Government. Defense Counsel will return the discovery to the Government or certify that it has been

14   shredded at the conclusion of the case.

15           5.       Defense Counsel will store the discovery in a secure place and will use reasonable care to

16   ensure that it is not disclosed to third persons in violation of this agreement.

17           6.       Defense Counsel shall be responsible for advising the defendant, employees, other members

18   of the defense team, and defense witnesses of the contents of this Stipulation and Order.

19           7.       In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees to

20   withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by this

21   Order or the Court modifies this Order regarding such transfer of discovery.

22           IT IS SO STIPULATED.

23   Dated: Nov. 21, 2013

24                                                            Respectfully Submitted,
25                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
26 /s/ James Homola
   (authorized on 11/20/13)                                   /s/ Kirk E. Sherriff
27 JAMES HOMOLA                                               KIRK E. SHERRIFF
   Attorney for defendant                                     HENRY Z. CARBAJAL III
28 Evelyn Brigget Sanchez                                     Assistant United States Attorneys

       Stipulation & Protective Order                         2
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 2   IT IS SO ORDERED.

 3   Dated: November 21, 2013
                                       SENIOR DISTRICT JUDGE
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      Stipulation & Protective Order         3
